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BAXTER & SCHWARTZ, P.C.                                                                  File Number 295002617
5450 NW Central, Suite 307, Houston, Texas 77092
Tel: (713) 933-1522/Fax: (713) 460-3595
Attorneys for CENTEX HOME EQUITY COMPANY, LLC


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION
         IN RE:                                     §       CASE NO. 05-86305-HDH7
         RYAN DEAN SAMUEL and                       §
         CHRISTY LYNN SAMUEL fka                    §       CHAPTER 7
         CHRISTY LYNN GRIFFIN                       §
         Debtor                                     §
         _________________________________          §       HEARING ON MOTION
         _                                          §       FOR RELIEF FROM STAY:
         CENTEX HOME EQUITY                         §
         COMPANY, LLC, AS SERVICING                 §       DATE: January 11, 2006
         AGENT FOR CHEC 2003-C-121, its             §       TIME: 1:30 PM
         successors in interest and assigns         §
             Movant                                 §
         vs.                                        §
         RYAN DEAN SAMUEL and                       §
         CHRISTY LYNN SAMUEL fka                    §
         CHRISTY LYNN GRIFFIN and                   §
         JEFFREY H. MIMS, TRUSTEE                   §
         Respondents                                §


                                   MOTION FOR RELIEF FROM STAY
                           AS TO 1714 AURORA DRIVE, RICHARDSON, TX
             COMES NOW, Movant, CENTEX HOME EQUITY COMPANY, LLC, as servicing

    agent for CHEC 2003-C-121, its successors in interest and assigns, a secured creditor and party-

    in-interest, as owner or servicer, and moves the Court as follows:

    1.       This Court has jurisdiction over this contested matter pursuant to 28 U.S.C. Sections

    1334 and 157(b) and 11 U.S.C. Sections 105 and 362. Debtor filed a Voluntary Petition for

    Relief under 11 U.S.C. Chapter 7 on October 15, 2005.

    2.       At the time the petition was filed, Debtor was indebted to Movant pursuant to a secured

    Adjustable Rate Note executed on May 27, 2003, in the original amount of $112,800.00, with

    interest thereon. A true and correct copy of the Note is attached hereto as Exhibit “A.”
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3.     The obligation of Debtor to pay the indebtedness is secured by a Deed of Trust, dated

May 27, 2003. A true and correct copy of the Deed of Trust is attached hereto as Exhibit “B.” .

Said Deed of Trust, which was duly recorded in the DALLAS County Deed Records, grants

Movant a lien on certain real property (Property) described as:

       BEING LOT 8, BLOCK 29 OF ARAPAHO EAST NO. 4, FIRST INSTALLMENT, AN
       ADDITION TO THE CITY OF RICHARDSON, DALLAS COUNTY, TEXAS, ACCORDING TO
       THE PLAT THEREOF RECORDED IN VOLUME 72138, PAGE 1050, MAP RECORDS,
       DALLAS COUNTY, TEXAS.

           PROPERTY ALSO KNOWN AS: 1714 AURORA DRIVE, RICHARDSON, TX 75081

4.     Debtor is the current owner of the property and is in default on the obligation to Movant

in that Debtor has failed to make installment payments when due and owing pursuant to the

terms of the Note and Deed of Trust described herein. At the time of filing, Debtor was due

for the November 1, 2005, contractual payment and all subsequent payments thereafter.

The current monthly payment is $1,589.09.            The arrearage presently due and owing

exceeds $3,178.18, plus late charges ($51.29 each) and attorney fees ($650.00).             The

outstanding principal balance is $110,743.50 plus accruing interest, late charges, escrow

advances, and attorney’s fees. The total payoff currently exceeds $114,138.40 and Debtor’s

Schedule ‘A’ estimates the value to be $136,720.00.

5.     Debtor is unable to make payments of principal or interest to Movant and is unable to pay

taxes or insurance on the property, all resulting in loss to Movant. Failure to make regular

monthly payments deprives Movant of adequate protection, thereby constituting “cause” under

11 U.S.C. §362 (d)(1) to terminate the automatic stay as to Movant. Therefore, the Automatic

Stay should be lifted pursuant to 11 U.S.C. §362(d) so as to permit Movant to pursue its

contractual, statutory, and other remedies as are available.




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6.     By reason of the foregoing, cause exists for vacating the stay so Movant may proceed to

foreclose, recover its interest in the property, and gain possession of the property in accordance

with the Deed of Trust and Note.

7.     In accordance with the terms of the Note and Deed of Trust, Debtor is liable for costs

and attorneys fees incurred by Movant. Movant requests reasonable attorney fees as to the

filing of this Motion.

8.     The provision of Rule 4001(a)(3) should be waived and Movant be permitted to

immediately enforce and implement any order granting relief from the automatic stay.

       WHEREFORE Movant prays that its Motion for Relief from Stay be GRANTED,

terminating the automatic stay as to Movant; alternatively, Movant be afforded adequate

protection, including but not limited to, having all post-petition payments brought current and

being reimbursed for reasonable attorney’s fees and costs. Movant further prays that the Court

waive the provision of Rule 4001(a)(3) and that Movant, its successors and assigns, be permitted

to immediately enforce and implement any order granting relief from the automatic stay and that

Movant be granted such other and further relief at law and equity as is just.

ANSWER REQUIRED. THE TRUSTEE OR THE DEBTOR SHALL FILE AN ANSWER
TO ANY MOTION FOR RELIEF FROM THE AUTOMATIC STAY WITHIN TWELVE (12)
DAYS FROM THE SERVICE OF THE MOTION. THE DEBTOR’S ANSWER SHALL
INCLUDE A DETAILED AND COMPREHENSIVE STATEMENT AS TO HOW THE
MOVANT CAN BE “ADEQUATELY PROTECTED” IF THE STAY IS TO BE CONTINUED.
IF THE DEBTOR DOES NOT FILE A RESPONSE AS REQUIRED, THE ALLEGATIONS IN
THE CREDITOR’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY SHALL BE
DEEMED ADMITTED, UNLESS GOOD CAUSE IS SHOWN WHY THESE ALLEGATIONS
SHOULD NOT BE DEEMED ADMITTED, AND AN ORDER GRANTING THE RELIEF
SOUGHT MAY BE ENTERED BY DEFAULT.
                                             Respectfully submitted,
                                             BAXTER & SCHWARTZ, P.C.
                                             /s/ Angela K. Randermann
                                             ANGELA K. RANDERMANN
                                             State Bar No. 24029787 (31688)
                                             Attorneys for CENTEX HOME EQUITY COMPANY, LLC

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                                            CERTIFICATE OF SERVICE
  I hereby certify that a copy of the foregoing Motion was noticed electronically or mailed on 12/22/2005 via regular
  First Class Mail, postage prepaid, as listed below:
  /s/ Angela K. Randermann
  ANGELA K. RANDERMANN

Debtor                                      Trustee                                   Debtor Attorney
RYAN DEAN SAMUEL and                        JEFFREY H. MIMS                           MARCUS B. LEINART
CHRISTY LYNN SAMUEL fka                     3102 OAK LAWN AVE., SUITE 700             11520 N. CENTRAL EXPWY
CHRISTY LYNN GRIFFIN                        DALLAS, TX 75219                          SUITE 212
1714 AURORA DR.                                                                       DALLAS, TX 75243
RICHARDSON, TX 75081                        UST US TRUSTEE
                                            WILLIAM T. NEARY
Notices of Appearance                       1100 COMMERCE STREET
NONE                                        ROOM 976
                                            DALLAS, TX 75242-1496



                                     CERTIFICATE OF CONFERENCE
  I certify that counsel for Debtor was contacted before filing Motion for Relief from Stay as
  follows:
  DATE & TIME                  COMMENTS
  12/15/05 2:35 PM             Attorney Chris Elliott spoke with attorney Richard Anderson, who stated that his
                               client was opposed to the motion.


  /s/ Angela K. Randermann
  ANGELA K. RANDERMANN




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